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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                                            FILED
                              BRUNSWICK DIVISION                                     Scott L. Poff, Clerk
                                                                                  United States District Court

                                                                              By staylor at 10:27 am, Feb 22, 2019


 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 2:18-cr-36

 JONATHAN LAMAR MANET and
 ZANABA R. MANET,

                Defendants.

                                             ORDER

       Defendants Jonathan Lamar Manet and Zanaba R. Manet mailed a document to the Court

labeled “Motion to Suppress/Motion in Limine.” Doc. 60. The Court has filed the document on

the electronic docket in this case and has designated the document as a “Letter.” Id. On

February 21, 2019, the Government filed a Response to Defendants’ “Letter,” noting that under

this District’s Local Rules for the Administration of Criminal Cases, Rule 44.2, defendants in

criminal matters who are represented by counsel are prohibited from filing any motion, brief, or

other pro se document in the record of the case, except for a motion for the appointment of new

counsel or a motion to proceed pro se. Doc. 61.

       Defendants in this case are represented by counsel. Defendants’ attempted filing is not a

motion for the appointment of new counsel or a motion to proceed pro se. Doc. 60. Rather, the

filing is an attempted request by Defendants, without the assistance of counsel, for the Court to

exclude certain evidence. Defendants’ filing is not permissible under Rule 44.2 and will not be

considered by the Court. Only motions filed by counsel in this case and the motions described in

Rule 44.2 will be considered by the Court.
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   SO ORDERED, this 22nd day of February, 2019.




                             BENJAMIN W. CHEESBRO
                             UNITED STATES MAGISTRATE JUDGE
                             SOUTHERN DISTRICT OF GEORGIA
